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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

AHMED AHMED                                               CIVIL ACTION

VERSUS                                                    NO. 21-2260

DEPARTMENT OF                                             SECTION: D (4)
HOMELAND SECURITY, ET AL.


                                      ORDER
        Considering the status update from the parties, which was emailed to the

Court on April 5, 2023, in accordance with the Court’s March 6, 2023 Order (R. Doc.

54);

        IT IS HEREBY ORDERED that this matter shall remain STAYED for an

additional thirty (30) days from the date of entry of this Order. Counsel shall send

an update on the status of the case to the Court’s e-file account on or before May 5,

2023. If the case is amicably resolved before the stay expires, counsel should inform

the Court and file an appropriate motion.

        New Orleans, Louisiana, April 6, 2023.


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                                       WENDY B. VITTER
                                       United States District Judge
